     Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 1 of 82. PageID #: 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

ALPHA CHI OMEGA FRATERNITY, INC.,
An Indiana corporation;

ALPHA GAMMA DELTA FRATERNITY,
a New York corporation;

ALPHA KAPPA PSI FRATERNITY, INC.,
an Indiana corporation;

ALPHA OMICRON PI FRATERNITY, INC.,
a Tennessee corporation;                                 Case No.
                                                 3:18-cv-2789
ALPHA PHI INTERNATIONAL                          _________________________
FRATERNITY, INCORPORATED,
a New York corporation;

ALPHA PHI OMEGA aka ALPHA PHI
OMEGA NATIONAL SERVICE
FRATERNITY,
a Missouri corporation;

ALPHA SIGMA PHI FRATERNITY, INC.,
a New York corporation;

THE ALPHA TAU OMEGA FRATERNITY,
INCORPORATED,
a Maryland corporation;

ALPHA XI DELTA FRATERNITY,
an Ohio corporation;

CHI OMEGA FRATERNITY,
an Ohio corporation;

THE DELTA CHI FRATERNITY, INC.,
an Iowa corporation;

DELTA DELTA DELTA,
an Illinois corporation;
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 2 of 82. PageID #: 2




DELTA GAMMA FRATERNITY,
an Ohio corporation;

DELTA PHI EPSILON, INC.,
a New York corporation;

DELTA TAU DELTA,
a New York corporation;

DELTA ZETA SORORITY,
an Ohio corporation;

GAMMA PHI BETA SORORITY, INC.,
an Arizona corporation;

KAPPA DELTA SORORITY,
INCORPORATED,
a Virginia corporation;

KAPPA DELTA RHO, INC.,
a New York corporation;

KAPPA KAPPA GAMMA FRATERNITY,
an Ohio corporation;

KAPPA SIGMA FRATERNITY,
a Virginia unincorporated association;

LAMBDA CHI ALPHA FRATERNITY
INCORPORATED,
an Indiana corporation;

PHI DELTA THETA FRATERNITY,
an Ohio Corporation;

PHI GAMMA DELTA, INC.,
an Indiana corporation;

PHI KAPPA PSI,
an Indiana unincorporated association;

PHI KAPPA TAU FRATERNITY INC.,
a Mississippi corporation;




                                         2
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 3 of 82. PageID #: 3




PHI SIGMA RHO NATIONAL
SORORITY, INC.,
an Ohio corporation;

PHI SIGMA SIGMA INC.,
a New York corporation;

PI BETA PHI,
an Illinois corporation;

THE PI KAPPA ALPHA INTERNATIONAL
FRATERNITY, INC.,
a Tennessee corporation;

PI KAPPA PHI FRATERNITY,
a South Carolina corporation;

SIGMA ALPHA EPSILON FRATERNITY,
an Illinois corporation;

SIGMA CHI CORPORATION,
an Illinois corporation;

SIGMA KAPPA,
a Maine corporation;

SIGMA LAMBDA GAMMA NATIONAL
SORORITY,
an Iowa corporation;

SIGMA NU FRATERNITY, INC.,
an Indiana corporation;

SIGMA PHI EPSILON FRATERNITY,
a Virginia corporation;

TAU KAPPA EPSILON FRATERNITY,
an Illinois corporation;

THETA CHI FRATERNITY, INC.,
a New York corporation;

TRIANGLE,
an Illinois corporation

                           PLAINTIFFS


                                        3
       Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 4 of 82. PageID #: 4




 v.

 COLLEGIATE CONNECTION LLC,
 an Ohio limited liability company;

 CHERIE ROOD,
 an individual

                                DEFENDANTS

 ________________________________________


                                           COMPLAINT

                             WITH DEMAND FOR JURY TRIAL

       The Plaintiffs, hereinafter collectively referred to as the “Greek Organizations,” bring this

Complaint against Defendants Collegiate Connection LLC and Cherie Rood.

       For their Complaint, the Greek Organizations state as follows:

                                  NATURE OF THE ACTION

       1.      This is an action brought pursuant to the Lanham Act (15 U.S.C. § 1051 et seq.)

and the common law to enjoin trademark infringement and unfair competition, for counterfeiting,

for breach of Trademark License Agreements, to recover sums owing under a Promissory Note,

and to recover damages and an accounting of Defendants’ profits associated with said offending

activities, among other forms of relief.

                                 JURISDICTION AND VENUE

       2.      This Court has original jurisdiction to adjudicate the Lanham Act claims in in this

action pursuant to 15 U.S.C. § 1121. Moreover, under 28 U.S.C. § 1338 this Court also has original

jurisdiction over the common law claims of unfair competition when joined with the related claims

being brought under the Lanham Act.




                                                4
       Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 5 of 82. PageID #: 5




       3.      Additionally, this Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

to adjudicate all state law claims in this action, namely the breach of the license agreement,

common law unfair competition, and breach of promissory note claims because they are so related

to and derived from the same common nucleus of operative fact as those claims within the original

jurisdiction in this Court that they constitute a constituent part of the same case or controversy.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because

Defendants reside in Ohio and in this District.

                                 THE PARTIES GENERALLY

       5.      The Plaintiff Greek Organizations are various collegiate fraternal organizations,

commonly referred to as fraternities and sororities, namely Alpha Chi Omega Fraternity, Inc.,

Alpha Gamma Delta Fraternity, Alpha Kappa Psi Fraternity, Inc., Alpha Omicron Pi Fraternity,

Inc., Alpha Phi International Fraternity, Incorporated, Alpha Phi Omega aka Alpha Phi Omega

National Service Fraternity, Alpha Sigma Phi Fraternity, Inc., The Alpha Tau Omega Fraternity,

Incorporated, Alpha Xi Delta Fraternity, Chi Omega Fraternity, The Delta Chi Fraternity, Inc.,

Delta Delta Delta, Delta Gamma Fraternity, Delta Phi Epsilon, Inc., Delta Tau Delta, Delta Zeta

Sorority, Gamma Phi Beta Sorority, Inc., Kappa Delta Sorority, Inc., Kappa Delta Rho, Inc., Kappa

Kappa Gamma Fraternity, Kappa Sigma Fraternity, Lambda Chi Alpha Fraternity Incorporated,

Phi Delta Theta Fraternity, Phi Gamma Delta, Inc., Phi Kappa Psi, Phi Kappa Tau Fraternity, Inc.,

Phi Sigma Rho National Sorority, Inc., Phi Sigma Sigma Inc., Pi Beta Phi, The Pi Kappa Alpha

International Fraternity, Inc., Pi Kappa Phi Fraternity, Sigma Alpha Epsilon Fraternity, Sigma Chi

Corporation, Sigma Kappa, Sigma Lambda Gamma National Soriroity, Sigma Nu Fraternity, Inc.,

Sigma Phi Epsilon Fraternity, Tau Kappa Epsilon Fraternity, Theta Chi Fraternity, Inc., and

Triangle.



                                                  5
       Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 6 of 82. PageID #: 6




       6.        Defendant Collegiate Connection LLC is an Ohio limited liability company with a

principal place of business located at 1420 East Wooster Street, Bowling Green, Ohio 43402.

Collegiate Connection LLC is in the business of producing and marketing various types of novelty

items and other articles adorned with the marks and insignia of various of the Plaintiff Greek

Organizations.

       7.        On information and belief, Defendant Cherie Rood resides at 10577 South Dixie

Highway, Portage, Ohio 43451. She is the owner and manager of Defendant, Collegiate

Connection.

                                      ALPHA CHI OMEGA

       8.        Alpha Chi Omega Fraternity, Inc. is an Indiana corporation, also known as “Alpha

Chi”. It is a fraternal organization for women, often referred to as a sorority. Its principal office is

located at 5939 Castle Creek Parkway North Drive, Indianapolis, Indiana 46250.

       9.        Alpha Chi Omega was founded at DePauw University in Greencastle, Indiana in

1885, and now has approximately 193 active chapters located at various colleges and universities.

Since its founding it has initiated over 200,000 members.

       10.       Alpha Chi Omega owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       11.       Alpha Chi Omega is the owner of valid registrations on the principal register of the

United States Patent and Trademark Office (hereinafter “the PTO”) of various of its marks and

insignia, including:

                 (a)    Registration No. 3,183,877 issued on December 12, 2006 and Registration

No. 3,183,915 issued on December 12, 2006 of the word mark, ALPHA CHI OMEGA;



                                                   6
       Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 7 of 82. PageID #: 7




               (b)    Registration No. 264,413 issued on November 26, 1929, Registration No.

3,257,973 issued on July 3, 2007, and Registration No. 3,257,972 issued on July 3, 2007 of its

Greek letter insignia, AXΩ;

               (c)    Registration No. 3,183,916 issued on December 12, 2006 and Registration

No. 3,258,149 issued on April 17, 2007 of a graphic design consisting of the following:




               (d)    Registration No. 3,183,914 issued on September 26, 2006 of a graphic

design consisting of the following:




                                  ALPHA GAMMA DELTA

       12.     Alpha Gamma Delta Fraternity is a New York corporation, also known as “Alpha

Gam” and “AGD.” It is a fraternal organization for women, often referred to as a sorority. Its

principal office is located at 8710 North Meridian Street, Indianapolis, Indiana 46260.

       13.     Alpha Gamma Delta was founded at Syracuse University in Syracuse, New York

in 1904, and now has approximately 198 active chapters located at various colleges and

universities. Since its founding it has initiated over 189,000 members.




                                                7
       Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 8 of 82. PageID #: 8




       14.     Alpha Gamma Delta owns and uses various distinctive marks and insignia to

represent membership in the sorority and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

       15.     Alpha Gamma Delta is the owner of valid registrations on the principal register of

the PTO of various of its marks and insignia, including:

               (a)     Registration No. 723,196 issued on October 12, 1961 of the word mark,

ALPHA GAMMA DELTA;

               (b)     Registration No. 702,000 issued on July 26, 1960 of its Greek letter insignia,

AΓΔ;

                (c)    Registration No. 721,445 issued on September 12, 1961 of a graphic

design consisting of the following:




               (d)     Registration No. 720,482 issued on August 22, 1961 of a graphic design

consisting of the following:




                                                 8
        Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 9 of 82. PageID #: 9




                (e)     Registration No. 4,114,867 issued on March 20, 2012 of a graphic design

consisting of the following:




                (f)     Registration No. 4,114,865 issued on March 20, 2012 of a graphic design

consisting of the following:




                                         ALPHA KAPPA PSI

        16.     Alpha Kappa Psi Fraternity, Inc. is an Indiana corporation, also known as “AKPsi”.

It is a professional, co-ed, business fraternity. Its principal office is located at 7801 East 88th Street,

Indianapolis, Indiana 46256.

        17.     Alpha Kappa Psi was founded at New York University in New York City, New

York in 1904, and now has approximately 219 active chapters located at various colleges and

universities. Since its founding it has initiated over 298,000 members.




                                                    9
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 10 of 82. PageID #: 10




       18.     Alpha Kappa Psi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       19.     Alpha Kappa Psi is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 885,612 issued February 3, 1970 and Registration No.

3,841,244 issued on August 31, 2010 of the word mark, ALPHA KAPPA PSI;

               (b)     Registration No. 520,989 issued on February 14, 1950 and Registration No.

3,841,238 issued on August 31, 2010 of its Greek letter insignia, AKΨ;

               (c)     Registration No. 887,677 issued on March 10, 1970 of a graphic design

consisting of the following:




               (d)     Registration No. 3,841,289 issued on August 31, 2010 and Registration No.

3,841,290 issued on August 31, 2010 of a graphic design consisting of the following:




                                                 10
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 11 of 82. PageID #: 11




                                      ALPHA OMICRON PI

       20.     Alpha Omicron Pi Fraternity, Inc. is a Tennessee corporation, also known as

“AOPi”. It is a fraternal organization for women, often referred to as a sorority. Its principal office

is located at 5390 Virginia Way, Brentwood, Tennessee 37027.

       21.     Alpha Omicron Pi was founded in 1897 at Barnard College, an affiliate of

Columbia University. Alpha Omicron Pi now has approximately 178 chapters located at various

colleges and universities with a current active membership of approximately 7,200 students. It also

has approximately 320 alumni chapters. There are approximately 122,200 living AOPi’s.

       22.     Alpha Omicron Pi owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       23.     Alpha Omicron Pi is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 563,192 issued on August 19, 1952 of the word mark,

ALPHA OMICRON PI;

               (b)     Registration No. 293,869 issued on May 10, 1932 of its Greek letter

insignia, AO;

               (c)     Registration No. 1,699,655 issued on April 14, 1992 of a graphic design

consisting of the following:




                                                  11
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 12 of 82. PageID #: 12




               (d)    Registration No. 1,808,245 issued on November 30, 1993 of a graphic

design consisting of the following:




               (e)    Registration No. 911,613 issued on May 4, 1971 of a graphic design

consisting of the following:




               (f)    Registration No. 565,396 issued on October 14, 1952 of a graphic design

consisting of the following:




               (g)    Registration No. 4,008,638 issued on August 9, 2011 of a graphic design

consisting of the following:




                                             12
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 13 of 82. PageID #: 13




               (h)     Registration No. 4,008,637 issued on August 9, 2011 of a graphic design

consisting of the following:




                                           ALPHA PHI

       24.     Alpha Phi International Fraternity, Incorporated is a New York corporation. It is a

fraternal organization for women, often referred to as a sorority. Its principal office is located at

1930 Sherman Avenue, Evanston, Illinois 60201.

       25.     Alpha Phi was founded at Syracuse University in Syracuse, New York in 1872, and

now has approximately 170 active chapters located at various colleges and universities. Since its

founding it has initiated over 200,000 members.

       26.     Alpha Phi owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       27.     Alpha Phi is the owner of valid registrations on the principal register of the PTO of

various of its marks and insignia, including:



                                                 13
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 14 of 82. PageID #: 14




               (a)    Registration No. 3,065,310 issued on March 7, 2006 and Registration No.

3,365,213 on January 8, 2008 of the word mark, ALPHA PHI;

               (b)    Registration No. 1,723,628 issued on October 13, 1992 and Registration

No. 3,065,311 issued on March 7, 2006 of its Greek letter insignia, AΦ;

               (c)    Registration No. 3,783,966 issued on May 4, 2010 and Registration No.

3,783,967 issued on May 4, 2010 of its Greek letter insignia, APHI;

               (d)    Registration No. 3,391,132 issued on March 4, 2008 of a graphic design

consisting of the following:




               (e)    Registration No. 3,365,421 issued on January 8, 2008 of a graphic design

consisting of the following:




                                              14
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 15 of 82. PageID #: 15




                                      ALPHA PHI OMEGA

       28.     Alpha Phi Omega also known as Alpha Phi Omega National Service Fraternity is a

Missouri corporation. It is a co-ed service fraternity. Its principal office is located at 1441 East

104th Street, Suite 105, Kansas City, Missouri 64131.

       29.     Alpha Phi Omega was founded at Lafayette College, in Easton, Pennsylvania in

1925, and is the largest intercollegiate fraternity in the United States with approximately 375 active

chapters located at various colleges and universities. Since its founding it has initiated over

470,000 members.

       30.     Alpha Phi Omega owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       31.     Alpha Phi Omega is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 2,315,321 issued on February 8, 2000, Registration No.

3,828,181 issued August 3, 2010, and Registration No. 3,840,594 issued on August 31, 2010 of

the word mark, ALPHA PHI OMEGA;

               (b)     Registration No. 3,834,436 issued on August 17, 2010 and Registration No.

5,372,011 issued on January 2, 2018 of its Greek letter insignia, AΦΩ;

               (c)     Registration No. 3,835,075 issued on August 17, 2010 and Registration

No. 5,024,367 issued on August 23, 2016 of a graphic design consisting of the following:




                                                 15
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 16 of 82. PageID #: 16




               (d)     Registration No. 2,320,138 issued on February 22, 2000 of a graphic design

consisting of the following:




                                      ALPHA SIGMA PHI

       32.     Alpha Sigma Phi Fraternity, Inc. is a New York corporation, also known as “Alpha

Sig”. It is a fraternal organization for men. Its principal office is located at 710 Adams Street,

Carmel, Indiana 46032.

       33.     Alpha Sigma Phi was founded at Yale in New Haven, Connecticut in 1845, and

now has approximately 161 active chapters located at various colleges and universities.

       34.     Alpha Sigma Phi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       35.     Alpha Sigma Phi is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:




                                                 16
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 17 of 82. PageID #: 17




                 (a)   Registration No. 2,001,289 issued on September 17, 1996 of the word mark,

ALPHA SIGMA PHI;

                 (b)   Registration No. 2,023,399 issued on December 17, 1996 of its Greek letter

insignia, AΣΦ;

                 (c)   Registration No. 2,039,967 issued on February 25, 1997 of a graphic

design consisting of the following:




                 (d)   Registration No. 2,021,894 issued on December 10, 1996 of a graphic

design consisting of the following:




                                      ALPHA TAU OMEGA

       36.       The Alpha Tau Omega Fraternity, Incorporated is a Maryland corporation, also

known as “Alpha Tau Omega” or “ATO.” It is a fraternal organization for men. Its principal office

is located at 333 North Alabama Street, Indianapolis, Indiana 46204.




                                               17
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 18 of 82. PageID #: 18




       37.     Alpha Tau Omega was founded at the Virginia Military Institute in Lexington,

Virginia in 1865, and now has approximately 141 active chapters located at various colleges and

universities. Since its founding it has initiated over 250,000 members.

       38.     Alpha Tau Omega owns and uses various distinctive marks and insignia to

represent membership in the fraternity and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

       39.     Alpha Tau Omega is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 2,394,954 issued on October 17, 2000 and Registration

No. 4,944,489 issued on April 26, 2016 of the word mark, ALPHA TAU OMEGA;

               (b)     Registration No. 866,669 issued on March 11, 1969 of the word mark,

ALPHA TAU OMEGA FRATERNITY;

               (c)     Registration No. 2,392,845 issued on October 10, 2000 of its Greek letter

insignia, ATΩ;

               (d)     Registration No. 2,403,408 issued November 14, 2000 and Registration

No. 4,870,779 issued on December 15, 2015 of a graphic design consisting of the following:




               (e)     Registration No. 3,957,478 issued on May 10, 2011 of a graphic design

consisting of the following:




                                                18
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 19 of 82. PageID #: 19




               (f)     Registration No. 2,370,408 issued on July 25, 2000 of a graphic design

consisting of the following:




       40.     Alpha Tau Omega is also the owner of the mark, ATO, and has an application for

registration of same pending with the PTO, namely, Application Serial No. 87/859467 which

application for registration has been approved by the PTO and a registration of same is to issue in

due course.

                                       ALPHA XI DELTA

       41.     Alpha Xi Delta Fraternity is an Ohio corporation also known as “AZD”. It is a

fraternal organization for women, often referred to as a sorority. Its principal office is located at

8702 Founders Road, Indianapolis, Indiana 46268.

       42.     Alpha Xi Delta was founded at Lombard College in Galesburg, Illinois in 1893,

and now has approximately 130 active chapters located at various colleges and universities. Since

its founding it has initiated over 185,000 members.




                                                 19
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 20 of 82. PageID #: 20




       43.     Alpha Xi Delta owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       44.     Alpha Xi Delta is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 762,894 issued on January 7, 1964, Registration No.

1,636,177 issued February 26, 1991, Registration No. 1,634,892 issued on February 12, 1991,

Registration No. 1,635,479 issued on February 19, 1991, and Registration No. 762,894 issued on

March 5, 1991 of the word mark, ALPHA XI DELTA;

               (b)     Registration No. 763,915 issued January 28, 1964, Registration No.

1,635,514 issued February 19, 1991, Registration No. 1,636,140 issued on February 26, 1991, and

Registration No. 1,642,136 issued on April 23, 1991 of its Greek letter insignia, AΞΔ;

               (c)     Registration No. 3,554,844 issued on December 20, 2008 and Registration

No. 3,553,840 issued on December 30, 2008 of a graphic design consisting of the following:




               (d)     Registration No. 620,401 issued on January 31, 1956, Registration No.

1,641,220 issued on April 16, 1991, Registration No. 1,666,772 issued December 3, 1991, and

Registration No. 1,671,809 issued on January 14, 1992 of a graphic design consisting of the

following:




                                                 20
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 21 of 82. PageID #: 21




                                          CHI OMEGA

       45.     Chi Omega Fraternity is an Ohio corporation also known as “Chi O”. It is a

fraternal organization for women, often referred to as a sorority. Its principal office is located at

3395 Players Club Parkway, Memphis, Tennessee 38125.

       46.     Chi Omega was founded in 1895 at The University of Arkansas and now has

approximately 170 chapters located at various colleges and universities with a current active

membership of approximately 16,000 students. There are approximately 201,000 living Chi

Omegas.

       47.     Chi Omega owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       48.     Chi Omega is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

               (a)     Registration No. 1,359,187 issued on September 10, 1985 and Registration

No. 1,375,043 issued on December 10, 1985 of the word mark, CHI OMEGA;

               (b)     Registration No. 1,362,416 issued on September 24, 1985 and Registration

No. 1,361,759 issued on September 24, 1985 of its Greek letter insignia, XΩ;

               (c)     Registration No. 1,378,500 issued on January 14, 1986 of a graphic design

consisting of the following:


                                                   21
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 22 of 82. PageID #: 22




               (d)     Registration No. 1,375,765 issued on December 17, 1985 of a graphic

design consisting of the following:




               (e)     Registration No. 1,559,754 issued on October 10, 1989 of a graphic design

consisting of the following:




                                           DELTA CHI

         49.   Delta Chi Fraternity, Inc. is an Iowa corporation also known as “DChi”. It is a

fraternal organization for men. Its principal office is located at 314 Church Street, Iowa City, Iowa

52244.




                                                 22
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 23 of 82. PageID #: 23




       50.      Delta Chi was founded at Cornell University in Ithaca, New York in 1890, and now

has approximately 120 active chapters located at various colleges and universities. Since its

founding it has initiated over 113,000 members.

       51.      Delta Chi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       52.      Delta Chi is the owner of valid registrations on the principal register of the PTO of

various of its marks and insignia, including:

                (a)    Registration No. 1,589,899 issued on April 3, 1990 of the word mark,

DELTA CHI;

                (b)    Registration No. 1,591,924 issued on April 17, 1990 of the word mark, THE

DELTA CHI FRATERNITY;

                (c)    Registration No. 3,615,296 issued on May 5, 2009 of the word mark, DCHI;

                (d)    Registration No. 1,591,925 issued on April 17, 1990 of its Greek letter

insignia, ΔX;

                (e)    Registration No. 1,596,304 issued on May 5, 1990 of a graphic design

consisting of the following:




                (f)    Registration No. 271,236 issued on May 27, 1930 of a graphic design

consisting of the following:


                                                 23
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 24 of 82. PageID #: 24




                                    DELTA DELTA DELTA

       53.     Delta Delta Delta is an Illinois corporation, also known as “Tri-Delta”. It is a

fraternal organization for women, often referred to as a sorority. Its principal office is located at

2331 Brookhollow Plaza Drive, Arlington, Texas 76005.

       54.     Delta Delta Delta was founded at Boston University in 1888, and now has

approximately 135 chapters located at various colleges and universities with a current active

membership of approximately 12,300 students, and Tri-Delta also has approximately 350 alumni

chapters. There are approximately 130,000 living Tri-Deltas.

       55.     Delta Delta Delta owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       56.     Delta Delta Delta is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 694,711 issued on March 15, 1960 of the word mark,

DELTA DELTA DELTA;

               (b)     Registration No. 739,179 issued on October 9, 1962 of the word mark, TRI

DELTA;

               (c)     Registration No. 223,230 issued on January 25, 1927 of a stylized mark

consisting of its Greek letter insignia, ∆∆∆;


                                                 24
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 25 of 82. PageID #: 25




                (d)     Registration No. 852,339 issued on July 9, 1968 of a graphic design

consisting of the following:




                (e)     Registration No. 687,720 issued on November 3, 1959 of a graphic design

consisting of the following:




                (f)     Registration No. 687,408 issued on October 27, 1959 of a graphic design

consisting of the following:




                                          DELTA GAMMA

        57.     Delta Gamma Fraternity is an Ohio corporation, also known as “DG” or “Dee Gee”.

It is a fraternal organization for women, often referred to as a sorority. Its principal office is located

at 3250 Riverside Drive, Columbus, Ohio 43221.



                                                   25
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 26 of 82. PageID #: 26




       58.      Delta Gamma was founded at Lewis School for Girls in Oxford, Mississippi in

1873, and now has approximately 150 active chapters located at various colleges and universities.

Since its founding it has initiated over 250,000 members.

       59.      Delta Gamma owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       60.      Delta Gamma is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

                (a)    Registration No. 699,172 issued on June 7, 1960 of the word mark, DELTA

GAMMA;

                (b)    Registration No. 3,488,640 issued on August 19, 2008 of the word mark,

DEE GEE;

                (c)    Registration No. 585,700 issued on February 16, 1954 of its Greek letter

insignia, ΔΓ;

                (d)    Registration No. 721,445 issued on September 12, 1961 of a graphic

design consisting of the following:




                (e)    Registration No. 699,586 issued on June 14, 1960 of a graphic design

consisting of the following:




                                                   26
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 27 of 82. PageID #: 27




                                      DELTA PHI EPSILON

       61.     Delta Phi Epsilon, Inc. is a New York corporation also known as “D Phi E” or

“DPhiE”. It is a fraternal organization for women, often referred to as a sorority. Its principal office

is located at 251 South Camac Street, Philadelphia, Pennsylvania 19107.

       62.     Delta Phi Epsilon was founded in 1917 at the New York University Law School in

New York City, and now has approximately 78 chapters located at various colleges and

universities with a current active membership of approximately 3,500 students. There are

approximately 30,000 living Delta Phi Epsilons.

       63.     Delta Phi Epsilon owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       64.     Delta Phi Epsilon is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 3,138,627 issued on September 5, 2006 and Registration

No. 3,150,790 issued on October 3, 2006 of the word mark, DELTA PHI EPSILON;

               (b)     Registration No. 3,200,908 issued on January 23, 2007 of the Delta Phi

Epsilon nickname, D PHI E;




                                                  27
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 28 of 82. PageID #: 28




               (c)     Registration No. 3,138,621 issued on September 5, 2006 and Registration

No. 3,167,934 issued on November 7, 2006 of its Greek letter insignia, ΔΦΕ;

               (d)     Registration No. 3,210,422 issued on February 20, 2007 and Registration

No. 3,221,555 issued on March 27, 2007 of a graphic design consisting of the following:




               (e)     Registration No. 3,153,507 issued on October 10, 2006 and Registration

No. 3,214,951 issued on March 6, 2007 of a graphic design consisting of the following:




                                     DELTA TAU DELTA

       65.     Delta Tau Delta is a New York corporation, also known as “Delt,” “Delts,”or

“DTD”. It is a fraternal organization for men. Its principal office is located at 10000 Allisonville

Road, Fishers, Indiana 46038.

       66.     Delta Tau Delta was founded at Bethany College in Bethany, Virginia in 1858, and

now has approximately 140 active chapters located at various colleges and universities. Since its

founding it has initiated over 120,000 members.




                                                28
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 29 of 82. PageID #: 29




        67.    Delta Tau Delta owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

        68.    Delta Tau Delta is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 1,188,245 issued on January 26, 1982 and Registration No.

3,471,352 issued on July 22, 2008 of the word mark, DELTA TAU DELTA;

               (b)     Registration No. 5,072,681 issued on November 1, 2016 of the word mark,

DELT;

               (c)     Registration No. 3,471,310 issued on July 22, 2008 of the word mark,

DELTS;

               (d)     Registration No. 1,189,637 issued on February 9, 1982, Registration No.

3,471,307 issued on July 22, 2008, and Registration No. 3,471,351 issued on July 22, 2008 of its

Greek letter insignia, ΔTΔ;

               (e)     Registration No. 3,471,367 issued on July 22, 2008 of a graphic design

consisting of the following:




               (f)     Registration No. 3,471,491 issued on July 22, 2008 of a graphic design

consisting of the following:



                                                 29
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 30 of 82. PageID #: 30




                                          DELTA ZETA

       69.     Delta Zeta Sorority is an Ohio corporation also known as “DZ”. It is a fraternal

organization for women, often referred to as a sorority. Its principal office is located at 202 East

Church Street, Oxford, Ohio 45056.

       70.     Delta Zeta was founded at Miami University in Oxford, Ohio in 1902, and now has

approximately 160 active chapters located at various colleges and universities. Since its founding

it has initiated over 244,000 members.

       71.     Delta Zeta owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       72.     Delta Zeta is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

               (a)     Registration No. 4,587,301 issued on August 19, 2014 and Registration No.

4,599,935 issued on September 9, 2014 of the word mark, DELTA ZETA;

               (b)     Registration No. 236,723 issued on December 20, 1927 and Registration

No. 4,604,229 issued on September 16, 2014 of its Greek letter insignia, ΔZ;

               (c)     Registration No. 4,820,140 issued on September 29, 2015 of a graphic

design consisting of the following:




                                                   30
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 31 of 82. PageID #: 31




                                       GAMMA PHI BETA

       73.     Gamma Phi Beta Sorority, Inc. is an Arizona corporation. It is a fraternal

organization for women, often referred to as a sorority. Its principal office is located at 12737 East

Euclid Drive, Centennial, Colorado 80111.

       74.     Gamma Phi Beta was founded at Syracuse University in Syracuse, New York in

1874, and now has approximately 139 active chapters located at various colleges and universities.

Since its founding it has initiated over 215,000 members.

       75.     Gamma Phi Beta owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       76.     Gamma Phi Beta is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 749,237 issued on May 7, 1963 and Registration No.

4,893,020 issued on January 26, 2016 of the word mark, GAMMA PHI BETA;

               (b)     Registration No. 751,452 issued on June 18, 1963 and Registration No.

4,892,595 issued on January 26, 2016 of its Greek letter insignia, ΓΦB;

               (c)     Registration No. 4,912,984 issued on March 8, 2016 and Registration No.

4,912,985 issued on March 8, 2016 of a graphic design consisting of the following:




                                                 31
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 32 of 82. PageID #: 32




                (d)     Registration No. 616,336 issued on November 15, 1955, Registration No.

749,236 issued on May 7, 1963, and Registration No. 4,893,132 issued on January 26, 2016 of a

graphic design consisting of the following:




                (e)     Registration No. 3,473,946 issued on July 22, 2008 and Registration No.

3,473,950 issued on July 22, 2008 of a graphic design consisting of the following:




                                           KAPPA DELTA

        77.     Kappa Delta Sorority, Incorporated is a Virginia corporation also known as “KD”.

It is a fraternal organization for women, often referred to as a sorority. Its principal office is located

at 3205 Players Lane, Memphis, Tennessee 38125.




                                                   32
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 33 of 82. PageID #: 33




       78.      Kappa Delta was founded at State Female Normal School (now Longwood

University) in Farmville, Virginia in 1897, and now has approximately 166 active chapters located

at various colleges and universities. Since its founding it has initiated over 260,000 members.

       79.      Kappa Delta owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       80.      Kappa Delta is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

                (a)    Registration No. 2,002,806 issued on September 24, 1996 of the word mark,

KAPPA DELTA SORORITY;

                (b)    Registration No. 238,465 issued on February 7, 1928 of its Greek letter

insignia, KΔ;

                (c)    Registration No. 688,113 issued on November 10, 1959 of a graphic design

consisting of the following:




                (d)    Registration No. 688,869 issued on November 24, 1959 of a similar graphic

design consisting of the following:




                                                   33
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 34 of 82. PageID #: 34




               (e)    Registration No. 688,114 issued on November 10, 1959 of a graphic design

consisting of the following:




               (f)    Registration No. 688,112 issued on November 10, 1959 of a graphic design

consisting of the following:




               (g)    Registration No. 688,111 issued on November 10, 1959 of a graphic design

consisting of the following:




                                              34
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 35 of 82. PageID #: 35




               (h)     Registration No. 688,110 issued on November 10, 1959 of a graphic design

consisting of the following:




                                     KAPPA DELTA RHO

       81.     Kappa Delta Rho, Inc. is a New York corporation, also known as “KDR”. It is a

fraternal organization for men. Its principal office is located at P.O. Box 777, Latrobe,

Pennsylvania 15650.

       82.     Kappa Delta Rho was founded at Middlebury College in Middlebury, Vermont in

1905, and now has approximately 37 active chapters located at various colleges and universities.

Since its founding it has initiated over 25,000 members.

       83.     Kappa Delta Rho owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       84.     Kappa Delta Rho is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:




                                                 35
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 36 of 82. PageID #: 36




                 (a)    Registration No. 1,287,499 issued on July 24, 1984 of the word mark,

KAPPA DELTA RHO;

                 (b)    Registration No. 1,286,636 issued on July 17, 1984 of its Greek letter

insignia, KΔP;

                 (c)    Registration No. 1,287,500 issued on July 24, 1984 of the word mark, KDR;

                 (d)    Registration No. 1,261,322 issued on December 13, 1983 of a graphic

design consisting of the following:




                                   KAPPA KAPPA GAMMA

       85.       Kappa Kappa Gamma Fraternity is an Ohio corporation, also known as “Kappa” or

“KKG”. It is a fraternal organization for women, often referred to as a sorority. Its principal office

is located at 6640 Riverside Drive, Suite 200, Dublin, Ohio 43017.

       86.       Kappa Kappa Gamma was founded at Monmouth College in Monmouth, Illinois in

1870, and now has approximately 140 active chapters located at various colleges and universities.

Since its founding it has initiated over 260,000 members.

       87.       Kappa Kappa Gamma owns and uses various distinctive marks and insignia to

represent membership in the sorority and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

       88.       Kappa Kappa Gamma is the owner of valid registrations on the principal register

of the PTO of various of its marks and insignia, including:


                                                 36
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 37 of 82. PageID #: 37




               (a)    Registration No. 1,128,071 issued on December 18, 1979 and Registration

No. 1,734,667 issued on November 24, 1992 of the word mark, KAPPA KAPPA GAMMA;

               (b)    Registration No. 1,131,534 issued on February 26, 1980 and Registration

No. 1,748,381 issued on January 26, 1993 of its Greek letter insignia, KKΓ;

               (c)    Registration No. 1,128,072 issued on December 18, 1979 and Registration

No. 1,704,829 issued on August 4, 1992 of a graphic design consisting of the following:




               (d)    Registration No. 2,955,476 issued on May 24, 2005 of a graphic design

consisting of the following:




               (e)    Registration No. 1,128,082 issued on December 18, 1979 and Registration

No. 1,720,129 issued on September 29, 1992 of a graphic design consisting of the following:




               (f)    Registration No. 1,128,081 issued on December 18, 1979 of a graphic

design consisting of the following:



                                               37
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 38 of 82. PageID #: 38




               (g)     Registration No. 4,635,056 issued on November 11, 2014 of a graphic

design consisting of the following:




                                         KAPPA SIGMA

       89.     Kappa Sigma Fraternity is an unincorporated association in Virginia, also known

as “Kappa Sig”. It is a fraternal organization for men. Its principal office is located at 1610

Scottsville Road, Charlottesville, Virginia 22902.

       90.     Kappa Sigma was founded at the University of Virginia in Charlottesville, Virginia

in 1919, and now has approximately 320 active chapters located at various colleges and

universities and has initiated over 200,000 members.

       91.     Kappa Sigma owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       92.     Kappa Sigma is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:




                                                   38
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 39 of 82. PageID #: 39




                (a)   Registration No. 630,180 issued on July 3, 1956 and Registration No.

5,281,043 issued on September 5, 2017 of the word mark, KAPPA SIGMA;

                (b)   Registration No. 591,775 issued on June 22, 1954 of its Greek letter

insignia, KΣ;

                (c)   Registration No. 590,907 issued on January 8, 1954 of a graphic design

consisting of the following:




                (d)   Registration No. 577,760 issued on July 21, 1953 of a graphic design

consisting of the following:




                (e)   Registration No. 590,506 issued on June 8, 1954 of a graphic design

consisting of the following:




                                              39
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 40 of 82. PageID #: 40




                                    LAMBDA CHI ALPHA

       93.     Lambda Chi Alpha Fraternity Incorporated is an Indiana corporation, also known

as “Lambda Chi”. It is a fraternal organization for men. Its principal office is located at 11711

North Pennsylvania Street, Suite 250, Carmel, Indiana 46032.

       94.     Lambda Chi Alpha was founded at Boston University in Boston, Massachusetts in

1909, and now has approximately 195 active chapters located at various colleges and universities.

Since its founding it has initiated over 280,000 members.

       95.     Lambda Chi Alpha owns and uses various distinctive marks and insignia to

represent membership in the fraternity and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

       96.     Lambda Chi Alpha is the owner of valid registrations on the principal register of

the PTO of various of its marks and insignia, including:

               (a)     Registration No. 3,688,920 issued on September 29, 2009 of the word mark,

LAMBDA CHI ALPHA;

               (b)     Registration No. 3,868,010 issued on September 22, 2009, Registration No.

3,686,064 issued on September 22, 2009, Registration No. 3,685,933 issued on September 22,

2009, Registration No. 3,689,072 issued on September 29, 2009, and Registration No. 3,689,389

issued on September 29, 2009 of its Greek letter insignia, ΛXA;

               (c)     Registration No. 4,972,570 issued on June 7, 2016 of a graphic design

consisting of the following:




                                                40
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 41 of 82. PageID #: 41




               (d)    Registration No. 3,689,377 issued on September 29, 2009 and Registration

No. 3,824,418 issued on July 27, 2010 of a graphic design consisting of the following:




               (e)    Registration No. 3,686,033 issued on September 22, 2009 and Registration

No. 3,686,062 issued on September 22, 2009 of a graphic design consisting of the following:




               (f)    Registration No. 3,692,532 issued on October 6, 2009 of a graphic design

consisting of the following:




                                               41
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 42 of 82. PageID #: 42




               (g)    Registration No. 3,686,063 issued on September 22, 2009 of a graphic

design consisting of the following:




               (h)    Registration No. 3,686,024 issued on September 22, 2009 of a graphic

design consisting of the following:




               (i)    Registration No. 3,868,022 issued on September 22, 2009 and Registration

No. 3,686,023 issued on September 22, 2009 of a graphic design consisting of the following:




                                      PHI DELTA THETA

         97.   Phi Delta Theta is an Ohio corporation, also known as “Phi Delt”. It is a fraternal

organization for men. Its principal office is located at 2 South Campus Avenue, Oxford, Ohio

45056.



                                               42
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 43 of 82. PageID #: 43




        98.    Phi Delta Theta was founded at Miami University in Oxford, Ohio in 1848, and

now has approximately 185 active chapters located at various colleges and universities. Since its

founding it has initiated over 251,000 members.

        99.    Phi Delta Theta owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

        100.   Phi Delta Theta is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 2,701,924 issued on April 1, 2003 and Registration No.

2,873,167 issued on August 17, 2004 of the word mark, PHI DELTA THETA;

               (b)     Registration No. 5,517,578 issued on July 17, 2018 of the word mark, PHI

DELT;

               (c)     Registration No. 224,978 issued on March 8, 1927, Registration No.

2,837,693 issued on May 4, 2004, and Registration No. 2,688,127 issued on February 18, 2003 of

its Greek letter insignia, ΦΔΘ;

               (d)     Registration No. 4,163,838 issued on June 26, 2012 of a graphic design

consisting of the following:




               (e)     Registration No. 3,981,716 issued on June 21, 2011 and Registration No.

3,973,301 issued on June 7, 2011 of a graphic design consisting of the following:


                                                 43
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 44 of 82. PageID #: 44




               (f)     Registration No. 2,638,906 issued on October 22, 2002 of a graphic design

consisting of the following:




                                     PHI GAMMA DELTA

       101.    Phi Gamma Delta Fraternity is an Indiana corporation, also known as “Phi Gam”

or “FIJI.” It is a fraternal organization for men. Its principal office is located at 1201 Red Mile

Road, Lexington, Kentucky 40544.

       102.    Phi Gamma Delta was founded at Jefferson College in Washington, Pennsylvania

in 1848, and now has approximately 158 active chapters located at various colleges and

universities. Since its founding it has initiated over 180,000 members.

       103.    Phi Gamma Delta owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       104.    Phi Gamma Delta is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:




                                                 44
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 45 of 82. PageID #: 45




               (a)    Registration No. 583,737 issued on December 15, 1953 of the word mark,

PHI GAMMA DELTA;

               (b)    Registration No. 934,231 issued on May 16, 1972 and Registration No.

1,605,659 issued on July 10, 1990 of the word mark, FIJI;

               (c)    Registration No. 1,506,696 issued on September 27, 1988 of the word mark,

PHI GAM;

               (d)    Registration No. 921,355 issued on September 28, 1971 of a graphic

design consisting of the following:




               (e)    Registration No. 609,724 issued on July 26, 1955 of a graphic design

consisting of the following:




               (f)    Registration No. 576,863 issued on June 30, 1953 of a graphic design

consisting of the following:




                                              45
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 46 of 82. PageID #: 46




                                         PHI KAPPA PSI

       105.      Phi Kappa Psi, Inc. is an Indiana corporation, also known as “Phi Psi”. It is a

fraternal organization for men. Its principal office is located at 5395 Emerson Way, Indianapolis,

Indiana 46226.

       106.      Phi Kappa Psi was founded at Jefferson College in Canonsburg, Pennsylvania in

1852, and now has approximately 100 active chapters located at various colleges and universities.

Since its founding it has initiated over 179,000 members.

       107.      Phi Kappa Psi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       108.      Phi Kappa Psi is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

                 (a)    Registration No. 758,227 issued on October 8, 1963 of the word mark, PHI

KAPPA PSI;

                 (b)    Registration No. 1,176,647 issued on November 3, 1981 of the word mark,

PHI PSI;

                 (c)    Registration No. 758,226 issued on October 8, 1963 of its Greek letter

insignia, ΦKΨ;




                                                 46
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 47 of 82. PageID #: 47




               (d)    Registration No. 3,960,603 issued on May 17, 2011 and Registration No.

4,065,158 issued on December 6, 2011 of a graphic design consisting of the following:




               (e)    Registration No. 1,215,416 issued on November 2, 1982 of a graphic design

consisting of the following:




               (f)    Registration No. 758,228 issued on October 8, 1963 of a graphic design

consisting of the following:




               (g)    Registration No. 753,082 issued on July 16, 1963 of a graphic design

consisting of the following:




                                              47
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 48 of 82. PageID #: 48




                                         PHI KAPPA TAU


       109.      Phi Kappa Tau Fraternity is a Mississippi corporation. It is a fraternal organization

for women, often referred to as a sorority. Its principal office is located at 5221 Morning Sun Road,

Oxford, Ohio 45056.

       110.      Phi Kappa Tau was founded in 1906 at Miami University in Oxford, Ohio, and now

has approximately 85 active chapters located at various colleges and universities. The fraternity

currently has approximately 4,700 active members.

       111.      Phi Kappa Tau owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       112.      Phi Kappa Tau is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

                 (a)    Registration No. 2,150,274 issued on April 14, 1998 of the word mark, PHI

KAPPA TAU;

                 (b)    Registration No. 287,744 issued on October 6, 1931 of its Greek letter

insignia, ΦKT;

                 (c)    Registration No. 590,905 issued on June 8, 1954 of a graphic design

consisting of the following:



                                                  48
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 49 of 82. PageID #: 49




               (d)     Registration No. 587,758 issued on April 6, 1954 of a graphic design

consisting of the following:




                                        PHI SIGMA RHO

       113.    Phi Sigma Rho National Sorority, Inc. is an Ohio corporation. It is a fraternal

organization for women, often referred to as a sorority. Its principal office is located at P.O. Box

58304 Cincinnati, Ohio 45258.

       114.    Phi Sigma Rho was founded at Purdue University in Lafayette, Indiana in 1984,

and now has approximately 39 active chapters located at various colleges and universities.

       115.    Phi Sigma Rho owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       116.    Phi Sigma Rho is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 4,900,642 issued on February 16, 2016 of the word mark,

PHI SIGMA RHO;


                                                 49
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 50 of 82. PageID #: 50




                 (b)    Registration No. 4,900,641 issued on February 16, 2016 of its Greek letter

insignia, ΦΣP;

                 (c)    Registration No. 3,006,911 issued on October 18, 2005 of a graphic design

consisting of the following:




                                       PHI SIGMA SIGMA

       117.      Phi Sigma Sigma Inc. is a New York corporation, also known as “Phi Sig”. It is a

fraternal organization for women, often referred to as a sorority. Its principal office is located at

8178 Lark Brown Road, Suite 202, Elkridge, Maryland 21075.

       118.      Phi Sigma Sigma was founded at Hunter College in New York City, New York in

1913, and now has approximately 115 active chapters located at various colleges and universities.

Since its founding it has initiated over 60,000 members.

       119.      Phi Sigma Sigma owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       120.      Phi Sigma Sigma is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

                 (a)    Registration No. 3,338,959 issued on November 20, 2007 and Registration

No. 3,417,237 issued on April 29, 2008 of the word mark, PHI SIGMA SIGMA;




                                                  50
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 51 of 82. PageID #: 51




               (b)     Registration No. 3,339,013 issued on November 20, 2007, Registration No.

3,367,990 issued on January 15, 2008, and Registration No. 3,380,855 issued on February 12, 2008

of its Greek letter insignia, ΦΣΣ;

               (c)     Registration No. 3,435,170 issued on May 27, 2008 of a graphic design

consisting of the following:




       121.    Phi Sigma Sigma also has an application for registration pending with the PTO,

namely, Application Serial No. 88/066241 for, and is the owner of a graphic design mark

consisting of the following:




                                          PI BETA PHI

       122.    Pi Beta Phi is an Illinois corporation, also known as “Pi Phi”. It is a fraternal

organization for women, often referred to as a sorority. Its principal office is located at 1154 Town

& Country Commons Drive, Town & Country, Missouri 63017.




                                                 51
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 52 of 82. PageID #: 52




       123.    Pi Beta Phi was founded at Monmouth College in Monmouth, Illinois in 1867, and

now has approximately 200 active chapters located at various colleges and universities. Since its

founding it has initiated over 300,000 members.

       124.    Pi Beta Phi owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       125.    Pi Beta Phi is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

               (a)     Registration No. 3,203,751 issued on January 30, 2007 and Registration No.

3,210,863, issued on February 20, 2007 of the word mark PI BETA PHI;

               (b)     Registration No. 2,316,463 issued on October 23, 2007 of the word mark,

PI PHI;

               (c)     Registration No. 244,812 issued on July 31, 1928, Registration No. 617,299

issued on December 6, 1955, and Registration No. 3,186,812 issued on December 19, 2006 of its

Greek letter insignia, ΠBΦ;

               (d)     Registration No. 3,268,195 issued on July 24, 2007 and Registration No.

3,268,196 issued on July 24, 2007 of a graphic design consisting of the following:




               (e)     Registration No. 3,264,475 issued on July 17, 2007 and Registration No.

3,260,339 issued on July 10, 2007 of a graphic design consisting of the following:


                                                   52
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 53 of 82. PageID #: 53




               (f)     Registration No. 3,135,560 issued on August 20, 2006 of a graphic design

consisting of the following:




                                       PI KAPPA ALPHA

       126.    Pi Kappa Alpha International Fraternity, Inc. is a South Carolina corporation, also

known as “Pike”. It is a fraternal organization for men. Its principal office is located at 8347 West

Range Cove, Memphis, Tennessee 38125.

       127.    Pi Kappa Alpha was founded at the University of Virginia in Charlottesville,

Virginia in 1868, and now has approximately 225 active chapters located at various colleges and

universities. Since its founding it has initiated over 280,000 members.

       128.    Pi Kappa Alpha owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       129.    Pi Kappa Alpha is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:



                                                 53
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 54 of 82. PageID #: 54




               (a)    Registration No. 1,912,042 issued on August 15, 1995 and Registration No.

1,912,041 issued on August 15, 1995 of the word mark, PIKE;

               (b)    Registration No. 3,622,711 issued on May 19, 2009 of its Greek letter

insignia, ΠKA;

               (c)    Registration No. 3,622,799 issued on May 19, 2009 of a graphic design

consisting of the following:




               (d)    Registration No. 3,622,800 issued on May 19, 2009 of a graphic design

consisting of the following:




                                       PI KAPPA PHI

       130.    Pi Kappa Phi Fraternity is a South Carolina corporation, also known as “Pi Kapp”.

It is a fraternal organization for men. Its principal office is located at 2015 Ayrsley Town

Boulevard #200, Charlotte, North Carolina 28273.




                                              54
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 55 of 82. PageID #: 55




       131.    Pi Kappa Phi was founded at the College of Charleston in Charleston, South

Carolina in 1904, and now has approximately 187 active chapters located at various colleges and

universities. Since its founding it has initiated over 113,000 members.

       132.    Pi Kappa Phi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       133.    Pi Kappa Phi is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

               (a)     Registration No. 5,086,258 issued on November 22, 2016 and Registration

No. 5,086,268 issued on November 22, 2016 of the word mark, PI KAPPA PHI;

               (b)     Registration No. 5,086,394 issued on November 22, 2016 of the word mark,

PI KAPP;

               (c)     Registration No. 5,086,263 issued on November 22, 2016 of its Greek letter

insignia, ΠKΦ;

               (d)     Registration No. 5,086,335 issued on November 22, 2016 and Registration

No. 5,086,337 issued on November 22, 2016 of a graphic design consisting of the following:




               (e)     Registration No. 5,099,546 issued on December 13, 2016 of a graphic

design consisting of the following:




                                                   55
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 56 of 82. PageID #: 56




               (f)    Registration No. 5,086,283 issued on November 22, 2016 of a graphic

design consisting of the following:




               (g)    Registration No. 5,086,278 issued on November 22, 2016 of a graphic

design consisting of the following:




               (h)    Registration No. 5,086,276 issued on November 22, 2016 of a graphic

design consisting of the following:




                                            56
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 57 of 82. PageID #: 57




                                     SIGMA ALPHA EPSILON

       134.       Sigma Alpha Epsilon Fraternity is an Illinois corporation, also known as “SAE”. It

is a fraternal organization for men. Its principal office is located at 1856 Sheridan Road, Evanston,

Illinois 60201.

       135.       Sigma Alpha Epsilon was founded at the University of Alabama in Tuscaloosa,

Alabama in 1856, and now has approximately 219 active chapters located at various colleges and

universities. Since its founding it has initiated over 334,000 members.

       136.       Sigma Alpha Epsilon owns and uses various distinctive marks and insignia to

represent membership in the fraternity and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

       137.       Sigma Alpha Epsilon is the owner of valid registrations on the principal register of

the PTO of various of its marks and insignia, including:

                  (a)    Registration No. 2,665,456 issued on December 24, 2002 of the word mark,

SIGMA ALPHA EPSILON;

                  (b)    Registration No. 538,680 issued on February 27, 1951 of its Greek letter

insignia, ΣAE;

                  (c)    Registration No. 277,162 issued on November 11, 1930 of its Greek motto,

ΦA;

                  (d)    Registration No. 2,346,560 issued on May 2, 2000 of a graphic design

consisting of the following:




                                                   57
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 58 of 82. PageID #: 58




               (e)    Registration No. 1,706,605 issued on August 11, 1992 of a graphic design

consisting of the following:




               (f)    Registration No. 617,623 issued on December 13, 1955 of a graphic design

consisting of the following:




               (g)    Registration No. 538,680 issued on December 13, 1955 of a graphic design

consisting of the following:




                                              58
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 59 of 82. PageID #: 59




                                           SIGMA CHI

       138.    Sigma Chi Corporation is an Illinois corporation. Sigma Chi, also known as “Sig”,

is a fraternity with its principal office located at 1714 Hinman Avenue, Evanston, Illinois 60201.

       139.    Sigma Chi was founded in 1855 at Miami University in Oxford, Ohio and now has

approximately 220 chapters located at various colleges and universities with a current active

membership of approximately 10,600 students. There are also approximately 145 alumni chapters

and approximately 208,000 living Sigma Chis.

       140.    Sigma Chi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       141.    Sigma Chi is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

               (a)     Registration No. 1,167,884 issued on September 1, 1981 of the word mark,

SIGMA CHI;

               (b)     Registration No. 218,796 issued on October 5, 1926 and Registration No.

1,152,026 issued on April 21, 1981 of its Greek letter insignia, ΣΧ;

               (c)     Registration No. 566,397 issued on November 4, 1952 of a graphic design

consisting of the following:




                                                   59
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 60 of 82. PageID #: 60




               (d)    Registration No. 564,224 issued on September 16, 1952 of a graphic design

consisting of the following:




               (e)    Registration No. 1,152,027 issued on April 21, 1981 of a graphic design

consisting of the following:




               (f)    Registration No. 566,396 issued on November 4, 1952 of a graphic design

consisting of the following:




                                              60
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 61 of 82. PageID #: 61




                                          SIGMA KAPPA

       142.      Sigma Kappa is a Maine corporation. It is a fraternal organization for women, often

referred to as a sorority. Its principal office located at 695 Pro-Med Lane, Suite 300, Carmel,

Indiana 46032.

       143.      Sigma Kappa was founded in 1874 at Colby College in Waterville, Maine and now

has approximately 307 active collegiate and alumnae chapters in the United States. Since its

founding, Sigma Kappa has initiated more than 160,000 women.

       144.      Sigma Kappa owns and uses various distinctive marks and insignia to represent

membership in the sorority and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       145.      Sigma Kappa is the owner of valid registrations on the principal register of the PTO

of various of its marks and insignia, including:

                 (a)    Registration No. 2,543,009 issued on February 26, 2002 of the word mark,

SIGMA KAPPA;

                 (b)    Registration No. 244,810 issued on July 31, 1928 and Registration No.

2,372,119 issued on August 1, 2000 of its Greek letter insignia, ΣΚ;

                 (c)    Registration No. 746,764 issued on March 12, 1963 and Registration No.

2,374,375 issued on August 8, 2000 of a graphic design consisting of the following:




                                                   61
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 62 of 82. PageID #: 62




               (d)    Registration No. 738,030 issued on September 18, 1962 of a graphic design

consisting of the following:




               (e)    Registration No. 2,365,788 issued on July 11, 2000 of a similar graphic

design consisting of the following:




               (f)    Registration No. 2,901,086 issued November 9, 2004 of a graphic design

consisting of the following:




               (g)    Registration No. 738,029 issued on September 18, 1962 of a graphic design

consisting of the following:




                                              62
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 63 of 82. PageID #: 63




                                  SIGMA LAMBDA GAMMA

       146.      Sigma Lambda Gamma National Sorority is an Iowa corporation, also known as

“Gammas” or “SLG”. It is a fraternal organization for women, often referred to as a sorority. Its

principal office is located at 1295 Jordan Street, Suite 3, North Liberty, Iowa 52317.

       147.      Sigma Lambda Gamma was founded at University of Iowa in Iowa City, Iowa in

1990, and now has approximately 118 active chapters located at various colleges and universities.

Since its founding it has initiated over 10,000 members.

       148.      Sigma Lambda Gamma owns and uses various distinctive marks and insignia to

represent membership in the sorority and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

       149.      Sigma Lambda Gamma is the owner of valid registrations on the principal register

of the PTO of various of its marks and insignia, including:

                 (a)    Registration No. 3,205,187 issued on February 6, 2007 of the word mark,

SIGMA LAMBDA GAMMA;

                 (b)    Registration No. 4,375,682 issued on July 30, 2013 of its Greek letter

insignia, ΣΛΓ;

                 (c)    Registration No. 4,379,544 issued on August 6, 2013 of a graphic design

consisting of the following:




                                                63
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 64 of 82. PageID #: 64




                                           SIGMA NU

       150.    Sigma Nu, Inc. is an Indiana corporation. It is a fraternal organization for men. Its

principal office is located at 9 North Lewis Street, Lexington, Virginia 24450.

       151.    Sigma Nu was founded at the Virginia Military Institute in Lexington, Virginia in

1869, and now has approximately 166 active chapters located at various colleges and universities.

Since its founding it has initiated over 235,000 members.

       152.    Sigma Nu owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution and sale of assorted items bearing its marks and insignia.

       153.    Sigma Nu is the owner of valid registrations on the principal register of the PTO of

various of its marks and insignia, including:

               (a)     Registration No. 1,563,322 issued on October 31, 1989 of the word mark,

SIGMA NU;

               (b)     Registration No. 2,023,534 issued on December 17, 1996 of the word mark,

SIGMA NU FRATERNITY, INC.;

               (c)     Registration No. 523,389 issued on May 23, 1950 and Registration No.

1,560,873 issued on October 17, 1989 of its Greek letter insignia, ΣN;

               (d)     Registration No. 2,339,960 issued on April 11, 2000 of a graphic design

consisting of the following:


                                                64
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 65 of 82. PageID #: 65




               (e)    Registration No. 525,178 issued on May 16, 1950 and Registration No.

1,557,978 issued on September 26, 1989 of a graphic design consisting of the following:




               (f)    Registration No. 525,179 issued on May 16, 1950 of a graphic design

consisting of the following:




                                    SIGMA PHI EPSILON

       154.    Sigma Phi Epsilon Fraternity is a Virginia corporation, also known as “SigEp”. It

is a fraternal organization for men. Its principal office is located at 310 South Boulevard,

Richmond, Virginia 23220.

       155.    Sigma Phi Epsilon was founded at University of Richmond in Richmond, Virginia

in 1901, and now has approximately 213 active chapters located at various colleges and

universities. Since its founding it has initiated over 332,000 members.

                                                65
       Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 66 of 82. PageID #: 66




        156.   Sigma Phi Epsilon owns and uses various distinctive marks and insignia to

represent membership in the fraternity and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

        157.   Sigma Phi Epsilon is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 573,579 issued on April 21, 1953 and Registration No.

2,555,567 issued on April 2, 2002 of the word mark, SIGMA PHI EPSILON;

               (b)     Registration No. 2,552,331 issued on March 26, 2002 and Registration No.

4,135,261 issued on May 1, 2012 of the word mark, SigEp;

               (c)     Registration No. 387,956 issued on June 10, 1941, Registration No.

2,552,330 issued on March 26, 2002, and Registration No. 2,555,568 issued on April 2, 2002 of

its Greek letter insignia ΣΦE;

               (d)     Registration No. 4,576,214 issued on July 29, 2014 of its letter insignia,

SPE;

               (e)     Registration No. 998,846 issued on November 19, 1974 and Registration

No. 2,617,187 issued on September 10, 2002 of a graphic design consisting of the following:




                                                66
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 67 of 82. PageID #: 67




                                    TAU KAPPA EPSILON

        158.   Tau Kappa Epsilon Fraternity is a New York corporation, also known as “TKE” or

“Teke”. It is a fraternal organization for men. Its principal office is located at 7439 Woodland

Drive, Suite 100, Indianapolis, Indiana 47278.

        159.   Tau Kappa Epsilon was founded at Illinois Wesleyan University in Bloomington,

Illinois in 1899, and now has approximately 246 active chapters located at various colleges and

universities. Since its founding it has initiated over 260,000 members.

        160.   Tau Kappa Epsilon owns and uses various distinctive marks and insignia to

represent membership in the fraternity and maintains a merchandising program to oversee the

production, distribution, and sale of assorted items bearing its marks and insignia.

        161.   Tau Kappa Alpha is the owner of valid registrations on the principal register of the

PTO of various of its marks and insignia, including:

               (a)     Registration No. 871,961 issued on June 24, 1969 of the word mark, TAU

KAPPA EPSILON;

               (b)     Registration No. 880,683 issued on November 11, 1969 of the word mark,

TEKE;

               (c)     Registration No. 872,176 issued on July 1, 1969 of the word mark, THE

TEKE;

               (d)     Registration No. 866,987 issued on March 18, 1969 and Registration No.

2,928,798 issued on March 1, 2005 of its Greek letter insignia, TKE;

               (e)     Registration No. 866,988 issued on March 18, 1969 of a graphic design

consisting of the following:




                                                 67
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 68 of 82. PageID #: 68




               (f)    Registration No. 873,233 issued on July 15, 1969 of a graphic design

consisting of the following:




               (g)    Registration No. 871,960 issued on June 24, 1969 of a graphic design

consisting of the following:




               (h)    Registration No. 871,959 issued on June 24, 1969 of a graphic design

consisting of the following:




                                            68
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 69 of 82. PageID #: 69




                (i)    Registration No. 871,958 issued on June 24, 1969 of a graphic design

consisting of the following:




                                           THETA CHI

       162.     Theta Chi Fraternity, Inc. is a New York corporation. It is a fraternal organization

for men. Its principal office is located at 865 West Carmel Drive, Carmel, Indiana 46032.

       163.     Theta Chi was founded at Norwich University in Norwich, Vermont in 1856, and

now has approximately 161 active chapters located at various colleges and universities and has

initiated over 188,000 members since its foundation.

       164.     Theta Chi owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       165.     Theta Chi is the owner of valid registrations on the principal register of the PTO of

various of its marks and insignia, including:

                (a)    Registration No. 1,240,699 issued on May 31, 1983 of the word mark,

THETA CHI;

                (b)    Registration No. 1,231,512 issued on March 15, 1983 of its Greek letter

insignia, ΘX;




                                                 69
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 70 of 82. PageID #: 70




               (c)    Registration No. 5,218,279 issued on June 6, 2017 of a graphic design

consisting of the following:




               (d)    Registration No. 4,342,110 issued on May 28, 2013 of a graphic design

consisting of the following:




               (e)    Registration No. 1,549,640 issued on July 25, 1989 of a graphic design

consisting of the following:




               (f)    Registration No. 1,221,273 issued on December 21, 1982 of a graphic

design consisting of the following:




                                              70
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 71 of 82. PageID #: 71




                                            TRIANGLE

       166.    Triangle is an Illinois corporation. It is a fraternal organization for men. Its principal

office is located at 120 South Center Street, Plainfield, Indiana 46168.

       167.    Triangle was founded at the University of Illinois at Urbana-Champaign at Urbana

and Champaign, Illinois in 1906, and now has approximately 35 active chapters located at various

colleges and universities. Since its founding it has initiated over 26,000 members.

       168.    Triangle owns and uses various distinctive marks and insignia to represent

membership in the fraternity and maintains a merchandising program to oversee the production,

distribution, and sale of assorted items bearing its marks and insignia.

       169.    Triangle is the owner of valid registrations on the principal register of the PTO of

various of its marks and insignia, including:

               (a)     Registration No. 3,145,055 issued on September 19, 2006 and Registration

No. 3,359,087 issued on December 25, 2007 of the word mark, TRIANGLE;

               (b)     Registration No. 3,359,088 issued on December 25, 2007 and Registration

No. 3,359,056 issued on December 25, 2007 of a graphic design consisting of the following:




                                                  71
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 72 of 82. PageID #: 72




               (c)     Registration No. 3,359,089 issued on December 25, 2007 of a graphic

design consisting of the following:




              FACTUAL ALLEGATIONS APPLICABLE TO ALL COUNTS

       170.    Through the years, considerable goodwill has inured to the benefit of Plaintiff

Greek Organizations symbolized by their marks and insignia resulting from the reputations of the

respective Greek Organizations, the quality of the services provided to their respective members,

the goods and services of their licensed vendors, and successful promotional efforts.

       171.    Each of the Greek Organizations have extensive formalized licensing programs

through which they arrange for acceptable vendors to produce and market Affinity merchandise

under the marks and insignia of the respective Greek Organizations.

       172.    In association with said licensing programs, the Greek Organizations retain the

right to, and actually do exercise control over the quality of said licensed merchandise.

       173.    In association with said licensing programs, the Plaintiff Greek Organizations have

entered into licensing agreements with a wide assortment of vendors whereby such licensed


                                                72
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 73 of 82. PageID #: 73




vendors are permitted to advertise and sell merchandise bearing marks owned by the respective

Greek Organizations, including the marks described above. Such licensed merchandise is

currently, and at all times pertinent to this Complaint has been, offered for sale throughout the

United States, including in the State of Ohio.

       174.      Said licensing programs are regularly advertised to the members of the Greek

Organizations.

       175.      From time to time during 2010, Defendant, Collegiate Connection entered into

agreements to become an official licensed vendor for various of the Plaintiff Greek Organizations,

including Alpha Chi Omega, Alpha Gamma Delta, Alpha Omicron Pi, Alpha Phi, Alpha Sigma

Phi, Alpha Tau Omega, Alpha Xi Delta, Chi Omega, Delta Chi, Delta Delta Delta, Delta Gamma,

Delta Tau Delta, Delta Zeta, Gamma Phi Beta, Kappa Delta, Kappa Kappa Gamma, Lambda Chi

Alpha, Phi Delta Theta, Phi Kappa Tau, Phi Sigma Sigma, Pi Beta Phi, Pi Kappa Alpha, Sigma

Alpha Epsilon, Sigma Kappa, Sigma Nu, Sigma Phi Epsilon, and Theta Chi, which License

Agreements are (hereinafter the “2010 Agreements”). A representative example of the 2010

Agreements marked as Plaintiffs Exhibit 1 is attached hereto and incorporated herein by this

reference.

       176.      Defendants materially breached the 2010 Agreements by failing to report sales and

remit the requisite royalty payments owing in association with Defendants advertising and sale of

licensed merchandise under the marks and insignia of the Greek Organizations, and as a

consequence, on or about September 7, 2011, the Plaintiff Greek Organizations terminated the

2010 Agreements.

       177.      For an extended period thereafter, the parties engaged in settlement negotiations to

resolve the breaches by Collegiate Connection of the 2010 Agreements, culminating in a two-



                                                  73
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 74 of 82. PageID #: 74




pronged resolution whereby (1) Defendants would enter into a settlement agreement described by

the parties as a PROMISSORY NOTE/PAYMENT PLAN (hereinafter referred to as “the 2016

Settlement”) committing to pay an agreed upon amount to liquidate the outstanding overdue

royalties in monthly installments, and (2) Defendants would again enter into agreements to become

an official licensed vendor for various of the Plaintiff Greek Organizations.

       178.    In relation to the first component of the settlement reached to resolve the breaches

by Collegiate Connection of the 2010 Agreements, on or about December 30, 2016, Defendants

executed a promissory note committing to pay through the Greek Organizations’ licensing agent

Affinity Consultants, Inc. the sum of $33,760.85 in monthly installments of varying amounts to

liquidate the promised amount in full by December 30, 2017. A true and correct copy of the 2016

Settlement marked as Plaintiffs Exhibit 2 is attached hereto and incorporated herein by this

reference.

       179.    In relation to the second component of the settlement reached to resolve the

breaches by Collegiate Connection of the 2010 Agreements, on or about January 4, 2017,

Defendants entered into License Agreements with numerous fraternities and sororities, including

separate License Agreements with each of the Greek Organizations which are party Plaintiffs in

this litigation, other than Phi Kappa Tau, namely, Alpha Chi Omega, Alpha Gamma Delta, Alpha

Kappa Psi, Alpha Omicron Pi, Alpha Phi, Alpha Phi Omega, Alpha Sigma Phi, Alpha Tau Omega,

Alpha Xi Delta, Chi Omega, Delta Chi, Delta Delta Delta, Delta Gamma, Delta Phi Epsilon, Delta

Tau Delta, Delta Zeta, Gamma Phi Beta, Kappa Delta, Kappa Delta Rho, Kappa Kappa Gamma,

Kappa Sigma, Lambda Chi Alpha, Phi Delta Theta, Phi Gamma Delta, Phi Kappa Psi, Phi Sigma

Rho, Phi Sigma Sigma, Pi Beta Phi, Pi Kappa Alpha, Pi Kappa Phi, Sigma Alpha Epsilon, Sigma

Chi, Sigma Kappa, Sigma Lambda Gamma, Sigma Nu, Sigma Phi Epsilon, Tau Kappa Epsilon,



                                                74
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 75 of 82. PageID #: 75




Theta Chi, and Triangle, which License Agreements are hereinafter collectively referred to as the

2017 Agreements. A representative example of the 2017 Agreements marked as Plaintiffs Exhibit

3 is attached hereto and incorporated herein by this reference.

       180.    In relation to the 2016 Settlement, Defendants remitted payments totaling

$11,623.86 towards the initial balance under the 2016 Settlement of $33,760.85 leaving an unpaid

balance owing in the amount of $22,136.99.

       181.    Pursuant to the terms of the 2016 Settlement, Defendants agreed that “if there is a

default . . . and the promissory note is placed in the hands of an attorney for breach . . . Collegiate

Connection agrees to pay reasonable attorney’s fees” relating to fees incurred to enforce the 2016

Settlement.

       182.    By the express terms of the 2017 Agreements, Defendants were permitted to

manufacture, advertise, market, and sell affinity merchandise under the marks and insignia of the

respective Greek Organizations and required to, “Within thirty (30) days following the end of each

calendar quarter, LICENSEE shall provide . . . a precise accounting showing the calculation of

the royalty owing, along with payment of the royalty owing for said calendar quarter.”

       183.    Although the 2017 Agreements were not scheduled to expire by their express terms

until June 30, 2017 with Defendants retaining a right to renew if certain renewal condition were

met, the 2017 Agreements by their express terms were earlier terminable in certain situations of

default as set forth in Section 11 of said agreements, including “Delinquency in payment of any

sums owing to [FRATERNITY/SORORITY]”.

       184.    From the outset after entry into the 2016 Settlement, Defendants became in default

through non-payment of the scheduled amounts dues and as a result of Defendants failure to cure

said defaults following written demands on behalf of the Plaintiff Greek Organizations, on March



                                                  75
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 76 of 82. PageID #: 76




15, 2017, the 2017 Agreements were terminated pursuant to the default provision providing for

termination as a consequence of “Delinquency in payment of . . . sums owing to” the Greek

Organizations.

       185.      Under the terms of both the 2010 and 2017 Agreements, upon termination of the

license Defendants were obligated—

       To cease any production, use, marketing or distribution of any merchandise bearing
       the insignia of [FRATERNITY/SORORITY] and LICENSEE shall cease holding
       itself out as being a LICENSEE of, or otherwise affiliated with,
       [FRATERNITY/SORORITY] and the LICENSEE shall not advertise or otherwise
       publicize the former affiliation with [FRATERNITY/SORORITY] . . . .

       186.      Notwithstanding, Defendants have continued to manufacture, advertise, market,

and sell affinity merchandise under the marks and insignia of the respective Greek Organizations,

have failed to issue the required royalty reports, and have failed to remit the requisite royalties

associated with the sales.

       187.      Despite having received actual notice that they were legally precluded from using

the marks and insignia owned by the Greek Organizations, and despite the clear and unambiguous

terms of the written Agreements, to the best of Plaintiffs’ knowledge and belief, Defendants have

failed and refused to cease use of the marks and insignia of the Greek Organizations and continue

to sell products bearing those marks.

       188.      The actions of Defendants constitute an intentional, willful, and wanton disregard

of the Plaintiffs’ rights and property interests resulting in a breach of the Agreement itself,

trademark infringement, counterfeiting, and unfair competition under federal and state law, as set

forth in various of the counts below.

       189.      Said activities are without the consent of the Plaintiff Greek Organizations. Said

unauthorized sales are hereinafter sometimes referred to as “Offending Activities”.



                                                 76
        Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 77 of 82. PageID #: 77




         190.   Representatives of the Plaintiff Greek Organizations have repeatedly directed

Defendants to cease and desist from any continuation of the Offending Activities. Defendant

Collegiate Connection has refused to become a licensed vendor, all the while persisting with the

Offending Activities.

         191.   The Offending Activities constitute an intentional, willful, and wanton disregard of

the Plaintiffs’ rights and property interests.

         192.   At all times pertinent to the issues in this litigation, Defendant Cherie Rood had the

right and ability to supervise the actions of Defendant Collegiate Connection complained of in

each of the Counts brought herein and actually directed, controlled, and participated in as the

moving force behind the actions complained of and has direct financial interest in the proceeds of

same.

         193.   Rood has knowingly failed to prevent the actions complained of in each of the

Counts brought herein and her knowing failure to do so has resulted in her direct financial benefit

from the complained of actions.

         194.   Rood participated in, knew of, planned, and approved the Offending Activities of

Defendant Collegiate Connection complained of in each of the counts brought herein.

         195.   Unless the Offending Activities are enjoined, Plaintiffs will suffer irreparable

injury for which there is no adequate remedy at law. (are we asking for injunction?)

                                            COUNT ONE

                         FEDERAL TRADEMARK INFRINGEMENT

         196.   Each of the foregoing paragraphs of this Complaint are hereby incorporated in this

Count by this reference.




                                                 77
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 78 of 82. PageID #: 78




        197.    The Offending Activities of Defendants constitute the use in commerce in

connection with the sale, offering for sale, or advertising of goods of reproductions, counterfeits,

copies, or colorable imitations of Plaintiffs’ registered marks in connection with the sale, offering

for sale, or advertising of goods, which are likely to cause confusion, or to cause mistake, or to

deceive.

        198.    Because the Offending Activities involve utilization of exact or virtually identical

replications of the Greek Organizations’ insignia, and because the offending merchandise is even

marketed as containing the Plaintiffs’ insignia, a resulting likelihood of confusion is inevitable.

        199.    Said Offending Activities of Defendants constitute a violation of Section 32(1)(a)

of the Lanham Act, 15 U.S.C. § 1114(1)(a).

                                           COUNT TWO

                              TRADEMARK COUNTERFEITING

        200.    Each of the foregoing paragraphs in this Complaint are hereby incorporated in this

Count by this reference.

        201.    The Offending Activities include uses by or on behalf of Defendants in association

with the sale, or offering for sale, or distribution of goods of spurious designations that are identical

with or substantially indistinguishable from federally registered marks owned by the Greek

Organizations in a manner constituting trademark counterfeiting in violation of Section 34(d) of

the Lanham Act, 15 U.S.C. § 1116(d).

                                          COUNT THREE

                              FEDERAL UNFAIR COMPETITION

        202.    Each of the foregoing paragraphs of this Complaint is hereby incorporated in this

Count by this reference.



                                                   78
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 79 of 82. PageID #: 79




       203.    The Offending Activities of Defendants, in using both registered and unregistered

marks of the Plaintiff Greek Organizations, constitute false designations, descriptions, and

representations, and advertising practices used in commerce tending to cause confusion, mistake,

or deception or to otherwise create the false impression that Defendants are affiliated with,

sponsored by, or approved by the Plaintiff Greek Organizations.

       204.    Because the Offending Activities involve utilization of exact or virtually identical

replications of the Greek Organizations’ insignia, and because the offending merchandise is even

marketed as containing the Plaintiffs’ insignia, a resulting likelihood of confusion is inevitable.

       205.    Said Offending Activities of Defendants constitute a violation of Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a).




                                          COUNT FOUR

                           COMMON LAW UNFAIR COMPETITION

       206.    Each of the foregoing paragraphs in this Complaint are hereby incorporated in this

Count by this reference.

       207.    Defendants’ Offending Activities likely cause and will likely continue to cause

confusion or misunderstanding as to the source, sponsorship, or approval of Defendants’ goods

and will likely cause persons to mistakenly believe that Defendants are affiliated, connected, or

associated with Plaintiffs.

       208.    Because the Offending Activities involve utilization of exact or virtually identical

replications of the Greek Organizations’ insignia, and because the offending merchandise is even

marketed as containing the Plaintiffs’ insignia, a resulting likelihood of confusion is inevitable.




                                                 79
        Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 80 of 82. PageID #: 80




         209.   Plaintiffs have been and, unless the actions of Defendants are enjoined, will likely

continue to be damaged by Defendants’ Offending Activities.

         210.   Said Offending Activities constitute a violation of the common law of the State of

Ohio.

                                           COUNT FIVE

                           BREACH OF THE LICENSE AGREEMENT

         211.   Each of the foregoing paragraphs in this Complaint is hereby incorporated in this

Count by this reference.

         212.   Defendant Collegiate Connection entered into one or more valid license agreements

with each of the Plaintiff Greek Organizations and has violated same by failing to issue all of the

required royalty reports, and by failing to remit the requisite royalties associated with the sales

Affinity merchandise under the marks and insignia of the Plaintiff Greek Organizations..

         213.   Following termination, and in spite of the terms of the license agreements,

Defendants also continued to produce, use, market, and distribute affinity goods under the various

marks and insignia of the Greek Organizations.

         214.   To date, Defendants have failed or refused to pay back royalties to the Greek

Organizations due and owing under the Agreement, while continuing to benefit from the

Agreement.

         215.   As a direct and proximate result of the Defendants’ breach of the Agreement as set

forth above, the Greek Organizations have suffered pecuniary loss, which can be proven with a

reasonable degree of certainty at trial.




                                                 80
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 81 of 82. PageID #: 81




                                          COUNT SIX

                           BREACH OF THE 2016 SETTLEMENT

        216.    By failing to remit the scheduled payments as required under the 2016 Settlement,

Plaintiff’s Exhibit 2, Defendants have materially breached said settlement agreement

        217.    As a result of Defendants’ default, all royalty payments scheduled to come due

under the terms of the 2016 Settlement are accelerated, overdue and owing.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for relief against Defendants as follows:

        A       An order temporarily, preliminarily, and permanently enjoining Defendants, their

respective officers, agents, servants, employees, and attorneys, and any other persons in active

concert or participation with them, from the Offending Activities, and use of any other confusingly

similar marks, designations, or indicia in association with any products;

        B       An order requiring Defendants to take any other action reasonably necessary to

prevent any false impression that Defendants’ business or goods sold by Defendants are affiliated

with, sponsored, or approved by Plaintiffs;

        C       An award to Plaintiffs of their damages incurred as a result of Defendants’

unauthorized use of their marks, including an accounting of Defendants’ profits earned in associa-

tion with said uses with prejudgment interest thereon;

        D       Trebling of said award pursuant to 15 U.S.C. § 1117;

        F       An award to Plaintiffs of punitive damages in an amount deemed appropriate by

the finder of fact;

        G       In relation to the Counterfeiting Count, an award to Plaintiff of statutory damages

of not less than $1,000 or more than $200,000 per counterfeit mark per type of goods sold, offered



                                                81
      Case: 3:18-cv-02789-JGC Doc #: 1 Filed: 12/03/18 82 of 82. PageID #: 82




for sale, or distributed, as the Court considers just, and if the Court finds that the use of the

counterfeit mark was willful, an enhancement of any such awards to not more than $2,000,000 per

counterfeit mark per type of goods sold, offered for sale, or distributed, as the Court considers just

pursuant to 15 U.S.C. § 1117(c);

       H       An award to Plaintiffs of outstanding amounts owing under the 2016 Settlement in

the amount of $22,136.99;

       I       An award to Plaintiffs of interest on any judgment rendered in this action;

       J       An assessment against Defendants of the costs of this action, including Plaintiffs’

reasonable attorneys’ fees; and

       K       Any further relief to which Plaintiffs may appear entitled.


                                  DEMAND FOR JURY TRIAL

               Plaintiff hereby demands a trial by jury of all issues so triable.



                                                      /s/ Robert G. Schuler
                                                      Robert G. Schuler (0039258)
                                                      KEGLER BROWN HILL & RITTER
                                                      65 East State Street, Suite 1800
                                                      Columbus, OH 43215
                                                      P: (614) 462-5400
                                                      F: (614) 464-2634
                                                      rschuler@keglerbrown.com

                                                      Counsel for Plaintiffs




                                                 82
